Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 1 of 11




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 15-cv-60082-DIMITROULEAS/SNOW

   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,
   v.

   FREDERIC ELM f/k/a FREDERIC ELMALEH, et al.,

         Defendants,
   ______________________________________________ )

           RECEIVER’S SUPPLEMENT TO FIRST INTERIM APPLICATION FOR
        ALLOWANCE AND PAYMENT OF FEES AND EXPENSES INCURRED BY THE
                       RECEIVER AND RETAINED COUNSEL

          Receiver Grisel Alonso, not individually, but solely in her capacity as Court-appointed

   receiver (“Receiver”) for Elm Tree Investment Advisors, LLC, Elm Tree Investment Fund LP,

   Elm Tree "e"Conomy Fund LP, and Elm Tree Motion Opportunity LP (collectively, the

   "Receivership Entities"), pursuant to the Order to Supplement Motion [DE 107], files this

   Supplement to the Receiver's First Interim Application for Allowance and Payment of Fees and

   Expenses Incurred by the Receiver and Retained Counsel [DE 102], and states as follows:

          1.      On June 30, 2015, the Receiver filed her First Interim Application for Allowance

   and Payment of Fees and Expenses Incurred by the Receiver and Retained Counsel (the "First

   Interim Application") [DE 102], requesting that the Court authorize the payment of $173,035.94

   in fees and costs to the Receiver and her paraprofessionals at Michael Moecker and Associates,

   Inc. ("MMA") and $88,705.37 in fees and costs to the Receiver's counsel, Broad and Cassel

   ("B&C"), and requesting that the Court authorize the Receiver to distribute from the

   Receivership Estate funds to her retained counsel and paraprofessionals.




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Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 2 of 11




          2.      On July 27, 2015, the Court entered an Order to Supplement Motion, ordering that

   the Receiver shall, within 14 days from the date of the Order, supplement the First Interim

   Application by filing with the Court the information required by paragraphs (5) and (6) of S.D.

   Fla. Local Rule 7.3(a). D.E. 107. S.D. Fla. Local Rule 7.3(a) states that a motion for attorneys'

   fees and/or non-taxable expenses and costs:

               (5) provide:

                  (A) the identity, experience, and qualifications for each timekeeper for whom
                  fees are sought;
                  (B) the number of hours reasonably expended by each such timekeeper;
                  (C) a description of the tasks done during those hours; and
                  (D) the hourly rate(s) claimed for each timekeeper;

               (6) describe and document with invoices all incurred and claimed fees and
               expenses not taxable under 28 U.S.C. § 1920.

   S.D. Fla. Local Rule 7.3(a).

          3.      In Hensley v. Eckerhart, 461 U.S. 424, 433 (1983), the United States Supreme

   Court identified the "starting point for determining a reasonable fee is the number of hours

   reasonable expended on the litigation multiplied by a reasonable hourly rate." This approach,

   known as the "lodestar" method, has achieved dominance in the federal courts after Hensely.

   Perdue v. Kenny A., 559 U.S. 542, 551 (2010).

          4.      The Receivership Order entered on January 16, 2015 [DE 13] provides that the

   "Receiver, and any counsel whom the Receiver may select, are entitled to reasonable

   compensation from the assets now held by or in the possession or control of or which may be

   received by ETIA and the Elm Tree Funds; said amount or amounts of compensation shall be

   commensurate with their duties and obligations under the circumstances, subject to approval of

   the Court." DE 13 ¶ 14.


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                                                               2
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 3 of 11




          5.     The Receivership Order also provides that the Receiver may "[m]ake or authorize

   such payments and disbursements from the funds and assets taken into control, or thereafter

   received by the Receiver, and incur, or authorize the incurrence of, such expenses and make, or

   authorize the making of, such agreements as may be reasonable, necessary, and advisable in

   discharging the Receiver's duties". DE 13 ¶ 8.

          6.     MMA submitted its invoice for professional services as Exhibit 2 to the First

   Interim Application. DE 102-2. The invoice summarizes the lodestar amount from January 16,

   2015 through March 31, 2015, and contains detailed descriptions of the work performed by each

   timekeeper, by date, the amount of time worked, and the lodestar amount for the day by

   timekeeper. Page 42 of the invoice contains a summary of the hours worked by each timekeeper.

          7.     MMA submitted its summary of incurred expenses as Exhibit 3 to the First

   Interim Application. DE 102-3. Although the Receivership Order specifically provides for

   payment of such expenses, the Receiver is seeking approval for payment of expenses in the

   amount of $7,367.19. Of that total amount, MMA has paid the amount of $5,201.01, for which

   the Receiver is seeking approval to reimburse MMA for the outlay of these funds on behalf of

   the Receivership. Descriptions for all incurred and claimed expenses by MMA are set forth on

   Exhibit 3 to the First Interim Fee Application and the corresponding invoices and receipts are

   attached as Composite Exhibit A.

          8.     The identity, experience, and qualifications for each timekeeper at MMA for

   whom fees are sought is as follows:1


   1
     This Supplement includes information for each timekeeper for whom fees are sought, and does
   not include information for Phil von Kahle, whose hours on the case were reflected in the First
   Interim Application but which fees are not being sought by the Receiver and were not charged.

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                                                              3
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 4 of 11




            a. Grisel Alonso: Ms. Alonso has over 28 years of experience in complex civil

               financial litigation, specializing in insolvency, liquidation, and related litigation.

               She was admitted to practice law in Florida in 1987 and is a former Assistant

               United States Attorney in the Southern District of Florida in the Civil Division.

               She has been the Director of Receivership and Fiduciary Services at MMA since

               2014 and acts as a court-appointed fiduciary in federal and state courts and

               manages and oversees the case management of the MMA's fiduciary cases.

            b. Dick Haslam: Mr. Haslam has been a case administrator at MMA for over four

               years and has experience in supporting MMA's court-appointed fiduciaries with

               asset analysis and recovery, asset disposition, business operations, case

               administration, securing records, data analysis, and identifying potential claw-

               backs and causes of action for the fiduciaries to pursue.

            c. Steven Zuckerman: Mr. Zuckerman has over 20 years of experience as a financial

               analyst with MMA in the areas of asset identification, recovery, and data analysis.

            d. William Straka: Mr. Straka has been a case associate with MMA for over two

               years and has experience in providing support in the areas of asset recovery,

               logistics, and chain of custody custodianship.

            e. Kimberly Koebel: Ms. Koebel has been a case analyst with MMA for two years

               with experience in case administration, asset analysis, and data analysis.

            f. Giselle Crombie: Ms. Crombie has eight years of experience at MMA as a case

               assistant in the area of website creation and maintenance for receivership cases.




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                                                            4
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 5 of 11




                g. Norma Castellon: Ms. Castellon has over 10 years of experience at MMA as a

                   case assistant in the areas of asset identification research, postal change orders,

                   mail processing, and maintenance of mail logs.

          9.       MMA has devoted 762.45 hours to this Receivership action between January 16,

   2015 and March 31, 2015 for which the Receiver seeks compensation. A summary of each

   timekeeper's rates, hours, and lodestar is reflected in the table below:

   Name                              Rate                          Hours                          Lodestar
   Grisel Alonso                     $295.00                       285.40                         $84,193.00
   Dick Haslam                       $225.00                       243                            $54,675.00
   Steven Zuckerman                  $195.00                       43.10                          $8,404.50
   William Straka                    $125.00                       93.50                          $11,687.50
   Kimberly Koebel                   $75.00                        73.45                          $5,508.75
   Giselle Crombie                   $50.00                        11                             $550.00
   Norma Castellon                   $50.00                        13                             $650.00
   TOTALS                                                          762.45                         $165,668.75


          10.      A detailed description of the tasks performed by each timekeeper at MMA for

   whom the Receiver is seeking payment can be found on Exhibit 2 to the First Interim

   Application, DE 102-2. A summary of those tasks, by timekeeper, is as follows: (1) Grisel

   Alonso: asset analysis and recovery, asset disposition, analysis of potential claw-back actions,

   preparation of reports to the Court and SEC, noticing investors and handling investor inquiries,

   conferences with SEC and defense counsel and counsel for third parties, and legal liaison; (2)

   Dick Haslam: case administration, asset investigation, asset analysis and recovery, business

   operations, identification of potential claw-back targets, and data analysis; (3) Steven

   Zuckerman: analysis of bank and brokerage accounts and analysis of investor deposits and

   payments; (4) William Straka: asset recovery, logistics, and chain of custody custodian; (5)

   Kimberly Koebel: case administration, asset analysis, and data analysis; (6) Giselle Crombie:

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                                                               5
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 6 of 11




   receivership case website creation and maintenance; (7) Norma Castellon: asset identification

   research, postal change orders, and maintenance of mail log.

          11.      The Receiver respectfully submits that the hours and discounted rates billed for

   the timekeepers at MMA are reasonable. The Receiver has discounted her regular hourly rate of

   $350.00 to $295.00 and the regular hourly rates of her staff at MMA to $50.00 to $225.00.

          12.      B&C submitted its Statement of Account as Exhibit 4 to the First Interim

   Application. DE 102-4. The Statement of Account, on the first page, summarizes the lodestar

   amount and the total expenses incurred from January 16, 2015 through March 31, 2015. Pages 3

   through 38 of the Statement of Account contain detailed descriptions of the work performed by

   B&C's timekeepers, by date, the amount of time worked, and the lodestar amount for the day by

   timekeeper. Page 38 of the Statement of Account contains a summary of the hours worked by

   lawyer or paralegal. Pages 39 through 43 of the Statement of Account itemize the expenses

   incurred by B&C in the amount of $2,685.37. Descriptions of the expenses incurred and claimed

   by B&C are set forth on pages 39-43 of Exhibit 4 to the First Interim Application and the

   corresponding invoices and receipts are attached as Composite Exhibit B.

          13.      The identity, experience, and qualifications for each timekeeper at B&C for

   whom fees are sought is as follows:

                a. Richard B. MacFarland: Mr. MacFarland is a partner at B&C who was admitted

                   to practice law in New York in 1972 and in Florida in 1980. He is the Chairman

                   of the firm's Real Estate Practice Group, the Co-Chairman of the firm's Special

                   Assets Practice Group and a member of the Public Finance and Capital Projects

                   Practice Group. He has extensive experience in all aspects of real estate law.



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                                                               6
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 7 of 11




            b. Daniel S. Newman: Mr. Newman is a partner at B&C who was admitted to

               practice law in Florida and New York in 1992. He is a member of the firm's

               Commercial Litigation, Construction Law and Litigation, Corporate and

               Securities, and White Collar Defense and Compliance Practice Groups. Mr.

               Newman has extensive experience in complex, business, securities and

               construction litigation and has served as counsel to court-appointed Receivers and

               served as a court-appointed Receiver, including in actions brought by the United

               States Securities and Exchange Commission. He began his career as an attorney

               with the SEC's New York Regional Office, in the Division of Enforcement.

            c. K. Michelle Jessell: Ms. Jessell is Of Counsel at B&C and was admitted to

               practice law in Florida in 1997. She is a member of the firm's Banking and

               Institutional Lending Real Estate Practice Group and specializes in real estate,

               lending and related transaction.

            d. Amanda Star Frazer: Ms. Frazer is Senior Counsel at B&C. She was admitted to

               practice law in Florida in 2007 and in the District of Columbia in 2014. She is a

               member of the firm's Commercial Litigation and Real Estate Litigation Practice

               Groups and specializes in commercial litigation, real estate litigation and fraud.

            e. Christopher Cavallo: Mr. Cavallo is an associate at B&C and was admitted to

               practice law in Florida in 2011. He is a member of the firm's Commercial

               Litigation and White Collar Defense and Compliance Practice Groups and has

               experience in commercial litigation and white collar criminal defense.

            f. Melissa Gomberg: Ms. Gomberg is an Associate at B&C where she is a member

               of the firm's Commercial Litigation and Real Estate Practice Groups. She was

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                                                           7
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 8 of 11




                     admitted to practice law in Florida in 2007 and has experience in complex

                     commercial litigation.

                  g. Trish Anzalone: Ms. Anzalone is a paralegal at B&C. She has been with the firm

                     since 1999 and has extensive experience in administration of receivership cases,

                     preparation of discovery, and document production, collection and review.

            14.      B&C has devoted 376.8 hours to this Receivership action from January 16, 2015

   through March 31, 2015, for which the Receiver seeks compensation. A summary of each

   timekeeper's rates, hours, and lodestar is reflected in the table below:

   Name                                 Rate                          Hours                          Lodestar
   Richard B. MacFarland                $325.00                       4.5                            $1,462.50
   Daniel S. Newman                     $325.00                       111.1                          $36,107.5*

                                                                                                     *Discounted amount
                                                                                                     on bill is $35,067.502
   K. Michelle Jessell                  $325.00                       4                              $1,300.00
   Amanda Star Frazer                   $325.00                       53.2                           $17,290.00
   Christopher Cavallo                  $275.00                       34.4                           $9,460.00
   Melissa Gomberg                      $275.00                       1.6                            $440.00
   Trish Anzalone                       $125.00                       168                            $21,000.00
   TOTALS                                                             376.8                          $86,020.00

            15.      A detailed description of the tasks performed by each timekeeper at B&C for

   whom the Receiver is seeking payment can be found on Exhibit 4 to the First Interim

   Application, DE 102-4. A summary of those tasks is as follow: (1) Richard B. MacFarland:

   analysis of real estate issues and preparation and review of real estate documents; (2) Daniel S.

   Newman: analysis of legal issues and strategy, asset investigation, preparation and review of

   litigation materials including motions, discovery materials, and other related filings; conferences

   with SEC and defense counsel and counsel for third parties, and analysis of potential claw-back
   2
       Mr. Newman did not charge for various tasks identified on the detailed time sheets.

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                                                                  8
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 9 of 11




   and recovery actions; (3) K. Michelle Jessell: analysis of real estate issues and preparation of real

   estate documents; (4) Amanda Star Frazer: analysis of legal issues, asset investigation,

   preparation and review of litigation materials, conferences with SEC and defense counsel and

   counsel for third parties, and analysis of potential claw-back and recovery actions; (5)

   Christopher Cavallo: asset investigation and preparation of litigation materials; (6) Melissa

   Gomberg: asset investigation and preparation of litigation materials; and (7) Trish Anzalone:

   preparation of discovery and analysis, collection and maintenance of document production.

          16.     The Receiver respectfully submits that the hours and discounted rates billed for

   the timekeepers at B&C are reasonable. B&C has discounted its regular rates for this matter as

   follows: Daniel Newman has discounted his regular rate of $530.00 to $325.00, Richard

   MacFarland has discounted his regular rate of $495.00 to $325.00, Amanda Star Frazer has

   discounted her regular rate of $340.00 to $325.00, Chris Cavallo has discounted his regular rate

   of $335.00 to $275.00, and Melissa Gomberg has discounted her regular rate of $300.00 to

   $275.00.

          17.     Further, the Court's Order dated January 22, 2015 [DE 16] granting the Receiver's

   Motion to Employ Legal Counsel [DE 15] states that the "Receiver is authorized to retain the law

   firm of Broad and Cassel to serve as legal counsel to the Receiver, at the rates set forth in the

   Motion." DE 16 at p.2. The Receiver's Motion to Employ Legal Counsel states that partners and

   of-counsel of B&C will be billed at the discounted hourly rate of $325.00, firm associates would

   be capped at $275.00, and paralegals of the firm will be billed at $125.00. DE 15 at pp. 3-4.

          18.     Based on the above, the Receiver respectfully requests that the Court grant the

   First Interim Application and authorize the payment of $165,668.75 in fees and $5,201.01 in



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                                                              9
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 10 of 11




    expenses to the Receiver and her paraprofessionals at MMA and $86,020.00 in fees and

    $2,685.37 in expenses to the Receiver's retained counsel at B&C from Receivership Estate funds.

                                                           Respectfully submitted,

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                                          CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on August 10, 2015, a true and correct copy of the foregoing
    was served via electronic transmission on all counsel or parties of record on the Service List
    below.
                                                           By:        s/Daniel S. Newman
                                                                      Daniel S. Newman, P.A.




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                                                               10
Case 0:15-cv-60082-WPD Document 112 Entered on FLSD Docket 08/10/2015 Page 11 of 11




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                                                             11
